Case 2:05-cv-02151-BBD-dkv Document 17 Filed 06/10/05 Page 1 of 2 Page|D 9

_ m 41 r‘_,‘,

05 JLW 10 PM .
lN THE UNlTED sTATE DISTRICT coURT 5- 0!;
FoR THE WESTERN DISTRICT oF TENNESSEE §§£§§H--,» ,~`,

TERRENCE MCFADGON, on behalf of ) Case No.: 05-2151-DV
themselves and all others similarly situated, )
)
I’laintiff, )
)
v. )
)
THE FRESH MARKET, INC., )
)
Defendant. )

 

ORDER

lt is hereby ordered that the application of Marylin E. Culp to appear and participate in

@,Zj@ZL/AQA

this action is hereby approvedl

DATED this go*"‘day 0%, 2005.

 

T; zis document entered on the docket shea _ln cemp|i`anc:e
with Rule 58 and/or 79{3} FRCP or“i '

/?

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02151 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

ESSEE

 

LaWrence W Williamson

SHORES WILLIAMSON & OHAEBOSIM LLC
Epic Center 1400

301 N. Main

Wichita, KS 67202

UZo L. Ohaebosim

SHORES WILLIAMSON & OHAEBOSIM, LLC
1400 Epic Center

301 North Main

Wichita, KS 67202

Steven HymoWitZ

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

1\/lemphis7 TN 38125

Marylin E. Culp

LITTLER b/[ENDELSON, P.C.
100 North Tryon Street

Ste. 41 50

Charlotte, NC 28202

HoWard L. Cleveland

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER

3725 Champion Hills Dr.
Ste. 3000
1\/lemphis7 TN 38125

Thomas P. DoWd

LITTLER b/[ENDELSON, P.C.
1050 Connecticut Ave.7 NW
10th 11.

Washington, DC 20036

Honorable Bernice Donald
US DISTRICT COURT

